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 8

 9                                UNITED STATES DISTRICT COURT
10                                     DISTRICT OF NEVADA
11
     UNITED STATES OF AMERICA,                          Case No. 2:08-CR-288-PMP-RJJ
12
                     Plaintiff,                         [PROPOSED]
13    vs.                                               ORDER GRANTING
                                                        MOTION FOR LEAVE TO FILE
14   LADON McCLELLAN,                                   STIPULATION TO AMEND THE
                                                        AMENDED JUDGMENT UNDER
15                   Defendant.                         SEAL
16

17
              Having come before the Court, it is ORDERED, ADJUDGED, and DECREED that
18
     Defendant Ladon McClellan's MOTION FOR LEAVE TO FILE STIPULATION TO AMEND THE
19
     AMENDED JUDGMENT UNDER SEAL is hereby GRANTED.
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              IT IS SO ORDERED.
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23                                               UNITED STATES DISTRICT JUDGE
24                                                        December 5, 2012
                                                 DATED:
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